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CISO.M. MAUI oy
Date 04 J 01 [2021

UNITED STATES DISTRICT COURT FOR THE

DISTRICT OF COLUMBIA
UNITED STATES OF AMERICA )
)
v. ) Case No. 21-cr-00083-TNM
)
BRANDON FELLOWS, ) Ex Parte, In Camera, Under Seal
)
)
Defendant. )

GOVERNMENT?’S EX PARTE, IN CAMERA, UNDER SEAL MOTION AND
MEMORANDUM OF LAW FOR A PROTECTIVE ORDER
PURSUANT TO CIPA SECTION 4 AND FED, R. CRIM. P. 16(d)(1)
